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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                  Plaintiff,
                                                 Case No. 13-cv-14040
v.                                               Honorable Sean F. Cox

SEVEN HUNDRED TWENTY-EIGHT THOUSAND
FIVE DOLLARS AND TWENTY- SEVEN CENTS
($728,005.27) IN U.S. CURRENCY FROM CITIZENS
BANK OF MICHIGAN ACCOUNT 04536291935;
SEVENTY-SIX THOUSAND ONE HUNDRED
THIRTY-SIX DOLLARS ($76,136) IN U.S.
CURRENCY; FOUR THOUSAND NINE HUNDRED
FORTY SIX (4,946) ASSORTED CELLULAR
DEVICES AND ELECTRONICS VALUED AT
$410,600; THREE HUNDRED SIXTY FIVE (365)
ASSORTED CELLULAR DEVICES VALUED AT
$100,825; AND TWENTY (20) ASSORTED
CELLULAR DEVICES VALUED AT $5,900,

                  Defendants in Rem.


                     Government’s Final Status Report


      The Government submits this final status report pursuant to a November 12,

2013, Stipulation for Entry of Order Administratively Closing Civil Forfeiture

Proceedings (ECF No. 11).
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      The Court administratively closed the above-captioned civil forfeiture case

(the “Case”) due to an underlying criminal investigation. The parties to the Case

agreed that the Case would be administratively closed for statistical purposes only,

and that it may be reopened upon further order of the Court, or at the request of

either party if the criminal investigation and/or the criminal prosecution, if any, is

resolved.

      The parties recently reached an agreement in principle to resolve these civil

forfeiture proceedings. The government anticipates that within 21 days the parties

will submit a stipulated consent judgment for the court’s consideration.

                                              Respectfully submitted,

                                              Dawn N. Ison
                                              United States Attorney

                                              S/Gjon Juncaj
                                              Gjon Juncaj (P63256)
                                              Assistant U.S. Attorney
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Dated: July 17, 2024




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                       CERTIFICATE OF SERVICE

      I hereby certify that on July 17, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system, which will notify all

ECF participants.


                                             S/Gjon Juncaj
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